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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                               ENTERED
                                                                                                                 08/04/2020
                                                     §
In re:                                               §        Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §        Case No. 20-33948 (MI)
                                                     §
                 Debtors. 1                          §        (Jointly Administered)
                                                     §

           INTERIM ORDER (I) AUTHORIZING DEBTORS TO (A) CONTINUE
           THEIR EXISTING CASH MANAGEMENT SYSTEM, (B) MAINTAIN
             EXISTING BUSINESS FORMS, (C) CONTINUE INTERCOMPANY
            ARRANGEMENTS, AND (D) CONTINUE UTILIZING CORPORATE
               CREDIT CARDS; AND (II) GRANTING RELATED RELIEF

                 Upon the motion, dated August 4, 2020 (the “Motion”)2 of Fieldwood Energy LLC

(“Fieldwood Energy”) and its affiliated debtors in the above-captioned chapter 11 cases, as

debtors and debtors in possession (collectively, the “Debtors”), pursuant to sections 105(a),

363(b)(1), 363(c)(1), and 364(a) of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004,

for entry of interim and final orders (i) authorizing the Debtors to (a) continue to operate their Cash

Management System and maintain the Bank Accounts listed on Schedule 1 annexed hereto,

(b) maintain their existing Business Forms, (c) continue Intercompany Transactions, and

(d) continue utilizing Corporate Credit Cards and pay all obligations related thereto, each in the

ordinary course of business and consistent with the Debtors’ prepetition practices; and (ii) granting

related relief, all as more fully set forth in the Motion; and upon consideration of the Dane


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.
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Declaration; and this Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion

having been provided; and such notice having been adequate and appropriate under the

circumstances, and it appearing that no other or further notice need be provided; and this Court

having reviewed the Motion; and this Court having held a hearing to consider the relief requested

in the Motion; and all objections, if any, to the Motion have been withdrawn, resolved, or

overruled; and this Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and it appearing that the relief requested in the

Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates as

contemplated by Bankruptcy Rule 6003 and is in the best interests of the Debtors and their

respective estates and creditors; and upon all of the proceedings had before this Court and after

due deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT:

               1.      The Debtors are authorized, but not directed, pursuant to sections 363(b),

363(c) and 105(a) of the Bankruptcy Code, to continue to maintain, and manage their cash pursuant

to, the Cash Management System; to collect, concentrate, and disburse cash in accordance with

the Cash Management System, including Intercompany Transactions between the Debtors and

other Debtors or Non-Debtor Affiliates; and to make ordinary course changes to their Cash

Management System without further order of the Court; provided that the Debtors shall provide

reasonable notice to the U.S. Trustee and any statutory committee appointed in these chapter 11

cases of any material changes to the Cash Management System.



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               2.      Pursuant to section 105(a) of the Bankruptcy Code, the Banks are

authorized and directed to continue to honor transfers, as directed by the Debtors, of funds among

the Bank Accounts.

               3.      The Debtors are authorized to (i) designate, maintain, and continue to use

any or all of their existing Bank Accounts, including those listed on Schedule 1 annexed hereto,

in the names and with the account numbers existing immediately before the Petition Date, (ii) to

the extent of available funds, deposit funds in, and withdraw funds from, such accounts by all usual

means, including, without limitation, checks, wire transfers, ACH transfers, and other debits,

(iii) pay any Bank Fees or other charges associated with the Bank Accounts, whether arising before

or after the Petition Date, and (iv) treat their prepetition Bank Accounts for all purposes as debtor

in possession accounts.

               4.      The Debtors are authorized, but not directed, to continue using, and

performing their obligations under, the Corporate Credit Cards and to pay any amounts owing with

respect thereto, including any amounts relating to the prepetition period.

               5.      The Debtors are authorized to open new bank accounts and close any

existing Bank Accounts in the ordinary course of business, so long as (a) any such new account is

with a bank that is (i) insured with the FDIC or the Federal Savings and Loan Insurance

Corporation, (ii) designated as an authorized depository by the U.S. Trustee pursuant to the U.S.

Trustee’s Operating Guidelines and Reporting Requirements for Debtors in Possession and

Trustees, and (iii) agrees to be bound by the terms of this Interim Order, and (b) the Debtors

provide notice to the U.S. Trustee and any statutory committee appointed in these cases; provided,

that all accounts opened by any of the Debtors on or after the Petition Date at any bank shall, for

purposes of this Interim Order, be deemed a Bank Account as if it had been listed on Schedule 1



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annexed hereto; provided, further, that such opening or closing shall be timely indicated on the

Debtors’ monthly operating reports.

               6.      Any Bank with which the Debtors maintained Bank Accounts as of the

Petition Date is authorized to debit the Debtors’ accounts in the ordinary course of business without

the need for further order of this Court for: (i) all checks drawn on the Debtors’ accounts which

are cashed at the Bank’s counters or exchanged for cashier’s checks by the payees thereof prior to

the Petition Date; (ii) all checks or other items deposited in one of Debtors’ accounts with the Bank

prior to the Petition Date which have been dishonored or returned unpaid for any reason, together

with any fees and costs in connection therewith, to the same extent the Debtors were responsible

for such items prior to the Petition Date; and (iii) all undisputed prepetition and postpetition

amounts outstanding, if any, owed to the Bank as Bank Fees for the maintenance of the Cash

Management System and charge back returned items to the Bank Accounts in the ordinary course.

               7.      The Banks shall not be liable to any party on account of: (i) following the

Debtors’ representations, instructions, or presentations as to any order of the Court (without any

duty of further inquiry); (ii) the honoring of any prepetition checks, drafts, wires, or ACH transfers

in a good faith belief or upon a representation by the Debtors that the Court has authorized such

prepetition check, draft, wires, or ACH transfers; or (iii) an innocent mistake made despite

implementation of reasonable handling procedures.

               8.      Those certain existing deposit agreements and Corporate Credit Card

agreements between the Debtors, on the one hand, and the applicable Banks, on the other hand,

shall continue to govern the postpetition cash management relationship between such parties, and

all of the provisions of such agreements, including, without limitation, the termination and fee

provisions, shall remain in full force and effect.



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               9.      The Debtors are authorized pursuant to sections 363(c) and 364(a) of the

Bankruptcy Code to continue to engage in the Intercompany Transactions in the ordinary course

of business.

               10.     All Intercompany Claims against one Debtor by another Debtor or a Non-

Debtor Affiliate arising after the Petition Date as a result of Intercompany Transactions shall be

accorded administrative expense priority status in accordance with sections 503(b) of the

Bankruptcy Code. For the avoidance of doubt, the relief granted in this Interim Order with respect

to the postpetition Intercompany Transactions and the Intercompany Claims resulting therefrom

shall not constitute a finding as to the validity, priority, or status or any prepetition Intercompany

Claim or any Intercompany Transaction from which such Intercompany Claim may have arisen,

and the Debtors expressly reserve any and all rights with regard to the validity, priority, or status

of any prepetition Intercompany Claim or any Intercompany Transaction from which such

Intercompany Claim may have arisen.

               11.     The Debtors shall maintain accurate records of all transfers within the Cash

Management System so that all postpetition transfers and transactions shall be adequately and

promptly documented in, and readily ascertainable from, their books and records, to the same

extent maintained by the Debtors before the Petition Date. The Debtors shall make such records

available upon reasonable request by the U.S. Trustee and any statutory committee appointed in

these chapter 11 cases on a confidential and professionals’ eyes only basis.

               12.     To the extent any of the Debtors’ Bank Accounts are not in compliance with

section 345(b) of the Bankruptcy Code or any of the U.S. Trustee’s requirements or guidelines,

the Debtors shall have 45 days, through and including September 18, 2020, without prejudice to

seeking an additional extension, to come into compliance with section 345(b) of the Bankruptcy



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Code and any of the U.S. Trustee’s requirements or guidelines; provided that nothing herein shall

prevent the Debtors or the U. S. Trustee from seeking further relief from the Court to the extent

that an agreement cannot be reached. The Debtors may obtain a further extension of the 45-day

period referenced above by entering into a written stipulation with the U.S. Trustee and filing such

stipulation on the Court’s docket without the need for further Court order.

               13.     The Debtors are authorized to use their existing Business Forms provided,

that once the Debtors’ existing check stock has been exhausted, the Debtors shall include, or direct

others to include, the designation “Debtor-in-Possession” and the corresponding bankruptcy case

number on all checks as soon as reasonably practicable to do so, and provided further, that with

respect to any Business Forms that exist or are generated electronically, the Debtors shall use

reasonable efforts to ensure that such electronic Business Forms are labeled “Debtor In

Possession” as soon as reasonably practicable following entry of this Interim Order.

               14.     Notwithstanding anything to the contrary herein, any payment to be made

by the Debtors pursuant to the authority granted herein shall be subject to and in compliance with

any orders entered by the Court approving the Debtors’ (1) entry into any postpetition debtor in

possession financing facility, including any budget and the terms of any definitive documentation

in connection therewith (the “DIP Documents”), and/or (2) authorizing the Debtors’ use of cash

collateral and/or any budget in connection therewith (in either case, the “DIP Order”). To the

extent there is any inconsistency between the terms of the DIP Order or any DIP Documents, on

the one hand, and this Interim Order, on the other hand, the terms of the DIP Order or such DIP

Document, as applicable, shall control.

               15.     Except as otherwise provided herein, nothing contained in the Motion or

this Interim Order or any payment made pursuant to the authority granted by this Interim Order is



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intended to be or shall be deemed as (i) an admission as to the validity of any claim against the

Debtors, (ii) a waiver of the Debtors’ or any party in interest’s rights to dispute the amount of,

basis for, or validity of any claim, (iii) a waiver of the Debtors’ or any other party in interest’s

rights under the Bankruptcy Code or any other applicable nonbankruptcy law, (iv) an agreement

or obligation to pay any claims, (v) a waiver of any claims or causes of action which may exist

against any creditor or interest holder, (vi) an admission as to the validity of any liens satisfied

pursuant to this Motion, or (vii) an approval, assumption, adoption, or rejection of any agreement,

contract, lease, program, or policy under section 365 of the Bankruptcy Code.

                 16.   This Interim Order is effective only from the date of entry through this

Court’s disposition of the Motion on a final basis; provided that, the Court’s ultimate disposition

of the Motion on a final basis shall not impair or otherwise affect any action taken pursuant to this

Interim Order.

                 17.   The requirements of Bankruptcy Rule 6003(b) have been satisfied.

                 18.   Notice of the Motion is adequate under Bankruptcy Rule 6004(a).

                 19.   Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Interim

Order shall be immediately effective and enforceable upon its entry.

                 20.   The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Interim Order.

                 21.   This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Interim Order.

                 22.    A final hearing to consider the relief requested in the Motion shall be held

  on August 24, 2020     1:30 p.m.______ (Prevailing Central Time) and any objections or




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responses to the Motion shall be filed on or prior to August 20, 2020 ____ at 4:00 p.m.

(Prevailing Central Time).


Signed:
Dated: August
        October04,
                17,2020
                    2018     , 2020
       Houston, Texas
                                                ____________________________________
                                                              Marvin Isgur JUDGE
                                           UNITED STATES BANKRUPTCY
                                                    United States Bankruptcy Judge




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                            Schedule 1

                          Bank Accounts
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                                                             Schedule 1
                                                            Bank Accounts
    Legal Entity       Bank Name        Account Name         Account #      Currency     Account Type        Current Balance
Fieldwood Energy LLC   Capital One   Operating Account        xxxxx2209       USD          Operating         $   70,891,211.52



Fieldwood Energy LLC   Capital One   Revenue Account          xxxxx4666       USD          Operating         $   62,498,782.06



Fieldwood Energy LLC   Capital One   FSA Account              xxxxx2306       USD      Flex Spending Acct.   $                 –



Fieldwood Energy LLC   Capital One   Bankruptcy-Related       xxxxx0534       USD          Operating         $            1.00
                                     Operating Account

Fieldwood Energy        US Bank      Escrow Account –         xxxxx6000       USD            Escrow          $     791,847.98
Offshore LLC                         Fieldwood Energy LLC

Fieldwood SD           J.P. Morgan   Escrow Account –         xxxxx5624       USD            Escrow          $    8,248,996.42
Offshore LLC                         Fieldwood Energy LLC
